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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_____________________________________
                                      )
IN RE ADC TELECOMMUNICATIONS,         )
INC. ERISA LITIGATION                 )  MASTER FILE: 03-CV-2989
_____________________________________ )
                                      )  ADM/FLN
                                      )
THIS DOCUMENT RELATES TO:             )
                                      )
ALL ACTIONS                           )
_____________________________________ )

     MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
    PRELIMINARY APPROVAL OF SETTLEMENT, CONDITIONAL
CERTIFICATION OF SETTLEMENT CLASS, APPROVAL OF NOTICE PLAN,
           AND SETTING OF FINAL FAIRNESS HEARING
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                                      INTRODUCTION

       Plaintiff James Carnahan (“Plaintiff”) respectfully submits this Memorandum of

Law in Support of his motion for preliminary approval of the proposed settlement1 with

Defendants2 and for conditional certification of a settlement class pursuant to FED. R.

CIV. P. 23. Specifically, the motion seeks (1) the Court’s preliminary approval of the

settlement, (2) conditional certification of the Class, (3) Court approval of the parties’

Notice plan, and (4) the setting of a Final Fairness Hearing.3

       The Settlement includes two parts: (1) a cash component of $3,250,000 and (2) the

implementation of significant and important structural changes to the ADC


1
  The Settlement Agreement and Release (“Settlement Agreement” or “Settlement”),
attached as Exhibit A to the Affidavit of Joseph H. Meltzer (“Meltzer Affidavit”) filed
with the accompanying Motion for the Preliminary Approval of Settlement, itself has
several exhibits, including the proposed form of Notice and proposed forms of
Preliminary and Final Approval Orders. The provisions of the Settlement Agreement,
including all definitions and defined terms, are incorporated by reference herein.
Additionally, as of the date of this filing, the Settlement Agreement has been executed by
the vast majority of the parties to this litigation. The fully executed Settlement
Agreement will be provided in short order.
2
  Defendants include ADC Telecommunications, Inc. (“ADC” or the “Company”), ADC
Retirement Committee, Robert Annunziata, John A. Blanchard, III, John J. Boyle, III,
William Cadogan, Dr. James C. Castle, Patricia S. Gilroy, Gokul V. Hemmady, B.
Kristine Johnson, Laura Owen, Jeffrey D. Pflaum, Debra L. Raths, Charles Roehrick,
Richard R. Roscitt, Jean-Pierre Rosso, Robert E. Switz, Larry Wangberg, John D.
Wunsch and Charles D. Yost.
3
  The Plaintiffs have set forth in this Memorandum various factors (factual, legal, and
financial) that they believe support the conclusion that the settlement is fair, reasonable,
and adequate. Plaintiffs are not, by entering into the Settlement, admitting to the ultimate
truth or falsity of any of the factual, legal or financial factors or conclusions discussed in
this motion that favor Defendants; rather, Plaintiffs are merely acknowledging, for
settlement purposes only, that the Court could find such factors exist and provide a sound
basis for preliminarily approving the Settlement.
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Telecommunications, Inc. Retirement Savings Plan (the “Plan”). The proposed

settlement is fair, reasonable and adequate. Upon preliminary approval of the Settlement,

pursuant to FED. R. CIV. P. 23(e)(1)(B), Class members will receive notice advising them

of the terms of the Settlement, how to object to the Settlement, and the date of the Final

Fairness Hearing. The notice will also explain who is a member of the settlement class.

As an integral part of the Settlement, the parties seek certification of a class of all persons

who were participants or beneficiaries in the Plan at any time between February 24, 2000

and October 26, 2005 (the “Class Period” or “Settlement Class Period”), and whose

accounts included investments in ADC stock or the ADC Stock Fund (excluding

Defendants).

       In addition to the cash component, the Settlement provides substantial benefits to

members of the Settlement Class, including the agreement by (1) ADC retaining an

Independent Advisor to advise the Plan’s ADC Retirement Committee regarding the

ADC Stock Fund or (2) ADC or the ADC Retirement Committee retaining an

independent (third party) fiduciary, in lieu of an independent advisor, with respect to the

ADC Stock Fund for three years. ADC also has agreed, at its own expense, to provide

fiduciary training for the Plan administrator, the ADC Retirement Committee (the

“Committee”), on an annual basis for three years. As explained herein, the proposed




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relief provides a substantial benefit to the Class and strongly diminishes the likelihood

that analogous litigation will be brought forward on behalf of the Plan in the future.4

       Plaintiff submits that the Settlement is fair, reasonable and adequate under the

governing standards for evaluating class action settlements in this Circuit, especially one

involving claims implicating alleged breaches of fiduciary duty regarding pension plan

investment in employer securities, a rapidly developing area of the law. Further, Plaintiff

firmly believes that certification of a non-opt-out settlement class is clearly appropriate

pursuant to Rule 23 of the Federal Rules of Civil Procedure and the proposed notice plan

more than meets the requirements of due process.

       Settlement was not reached until after Defendants’ Motion to Dismiss was fully

briefed, argued and denied, full fact discovery had taken place, experts had been retained

and utilized, a class certification motion had been filed, briefed, argued and decided and

numerous discovery-related motions and appeals had been filed and briefed. Each term

and detail of the Settlement was the product of spirited and extensive arms-length

negotiations. The Settlement is in the process of being thoroughly vetted by an

Independent Fiduciary, U.S. Trust.        Moreover, the proposed class notice process

undoubtedly satisfies the requirements of due process -- the individual and web based

forms of notice used are consistent with the forms of notice utilized in analogous actions.

       As set forth below, all prerequisites for preliminary approval of the settlement,

approval of the notice plan, and certification of the Settlement Class have been met. In

4
  The Settlement therefore adequately addresses some of “the problems that necessitated
the filing of this lawsuit originally” and should be approved on that basis. Perry v.
FleetBoston Financial Corp., 229 F.R.D. 105, 118 (E.D. Pa. 2005).

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short, the proposed Settlement should be preliminarily approved at this juncture and the

Court should authorize providing notice to the Class.5

                                 PROCEDURAL HISTORY

       On April 30, 2003, Lorraine L. Osborne filed a complaint against ADC

Telecommunications, Inc., William Cadogan, Robert E. Switz, B. Christine Johnson,

John A. Blanchard, III, Jean-Pierre Russo, John D. Wunsch and American Express Trust

Company. Marjorie Malinski filed a similar complaint on May 21, 2003 against many of

the same defendants and including Richard R. Roscitt, Charles T. Roehrick, John J.

Boyle, III and Charles D. Yost as additional Defendants. On June 26, 2003, Plaintiff

James A. Carnahan filed a similar complaint against the same Defendants. By order of

the Court entered October 2, 2003, the cases were consolidated and Plaintiffs filed their

Consolidated Complaint of ERISA Plaintiffs Lorraine L. Osborne, Marjorie Malinski and

James A. Carnahan for Plan-Wide Relief Under the Plan (the “Complaint”) on November

26, 2003. On May 4, 2005, Plaintiff Carnahan moved this Court for an Order appointing

Michael Anderson as an additional class representative.

       The Complaint alleges that Defendants breached their respective fiduciary duties

pursuant to the Employee Retirement Income Security Act (“ERISA”) by allowing the

Plan to purchase and hold ADC common stock, at a time when, according to the Plaintiff,

ADC common stock was an imprudent investment for the Plan. Plaintiff also alleges that

Defendants violated ERISA by (1) providing misleading, incomplete, and inaccurate


5
 The Preliminary Order of Approval proposed by all parties to the Settlement
Agreement is appended to the Settlement Agreement as Exhibit B.

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statements to the Plan’s participants regarding the Company’s operational and financial

results, (2) failing to properly monitor and provide material information to the Committee

members, (3) allowing or abetting fiduciary breaches of their co-fiduciaries, and (4)

failing to avoid or remedy inherent conflicts of interests between their corporate interests

and fiduciary responsibilities to the Plan and its participants.

       In particular, Plaintiff alleged that, throughout the Class Period, the Plan was

allowed to accumulate and maintain, through Company-encouraged participant

investments, a significantly large position in ADC common stock. Such a heavy single-

equity investment, in addition to being inherently risky, was allegedly particularly

imprudent given that ADC allegedly disseminated optimistic and unrealistic predictions

that concealed the their true financial health and prospects despite (1) alleged corporate

misconduct and accounting/inventory irregularities and (2) the general downturn in the

telecommunications industry, including the Company’s business. Specifically, Plaintiffs

alleged that Defendants imprudently permitted the Plan to invest in Company stock while

ignoring ADC’s (i) own internally generated negative forecasts; (ii) improper shifting of

revenues from future quarters into current quarters in order to meet earnings forecasts;

and (iii) drastically rising inventory levels.

       Through his counsel’s investigation as well as through extensive direct and third

party written and deposition discovery, Plaintiff obtained extensive documentation

regarding the Plan and its performance, as well as non-public data regarding the Plan’s

investment in ADC Stock and ADC’s business health, prospects, reporting and

management during the relevant time period. Plaintiff’s Counsel has conducted a


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thorough investigation into plaintiff’s claims, the underlying events, facts, actions, and

legal/factual allegations presented in the Complaint, and the operations and

administration of the Plan. This investigation included, inter alia, conducting individual

interviews with Plan participants and employees, collecting, reviewing and analyzing

hundreds of thousands of Plan and Company-related administrative, fiduciary review and

asset management, business, inventory and other documents/communications, and

analyzing potential damages. Plaintiff’s Counsel has also retained experts to review the

financial and legal principles applicable to Plaintiff’s claims and their factual predicates.

       The litigation of this matter was complex and hotly contested by Defendants from

the outset. The Defendants filed a motion to dismiss on February 2, 2004, triggering

intensive briefing of complicated and novel issues on both sides. Plaintiff filed a

Response to Defendants’ Motion to Dismiss on March 18, 2004, which was followed by

Defendants’ Reply on April 19, 2004. This Court entertained oral argument regarding

Defendants’ Motion to Dismiss on May 28, 2004. The Court issued an Order denying the

motion on July 26, 2004.

       As this Court is well aware, the discovery process in this matter was extensive and

hard fought by all parties involved. Plaintiff served four sets of document requests on

Defendants, seeking multiple categories of information. Defendants vigorously resisted

document production requiring letters of inquiry and several lengthy and extensive

conference calls attempting to resolve disputed issues. Simply put, the parties had strong

positions regarding the proper scope of paper/deposition discovery – as the Court was

made aware through numerous discovery motions/appeals of orders. Plaintiff served four


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sets of subpoenae on third party witnesses, including American Express Trust Company,

Watson Wyatt, Ernst & Young, LLP and Mercer Investment Consulting, Inc. In total,

Plaintiff obtained, reviewed and analyzed hundreds of thousands of pages of

documents/communications/electronic discovery related to the allegations in the

Complaint. Plaintiff served requests for admissions and two sets of interrogatories

posing numerous, directed and discrete questions related to this litigation. Ultimately,

Plaintiff was required to file a Motion to Compel regarding certain requests involved with

the above referenced propounded discovery – and respond to/argue against numerous

discovery motions by Defendants from early on in the fact discovery process.

       Specifically to the last point, Plaintiff provided responses to three sets of

Interrogatories, two sets of requests for production and a set of requests for admission

from Defendants, including multiple contention interrogatories. Plaintiff prepared for,

led, attended and/or summarized the depositions of numerous fact witnesses and certain

depositions pursuant to Rule 30(b)(6) of the Company and third party witnesses.

       As noted above, Plaintiff filed a Motion to Certify the Class on May 4, 2005

which was briefed extensively by all parties. Oral argument was conducted on July 12,

2005. On September 15, 2005, Plaintiff’s Motion was granted in part and denied in part.

       Despite their strongly held differences in opinion regarding the merits of this case,

the parties worked together in a genuine effort to reach a mutually satisfactory settlement

of Plaintiffs’ claims, as is generally preferred in federal litigation. See section IA, supra.

Fortunately, the parties were able to come to an agreement that both addresses certain of

Plaintiffs’ ongoing concerns and is acceptable to Defendants.


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                                THE PROPOSED SETTLEMENT

       The proposed Settlement provides for the payment by Defendants in the amount of

three million two hundred fifty thousand dollars ($3,250,000.00) to a Settlement Fund.

Further, the Settlement Agreement contemplates significant and highly valuable

structural changes to the administration of the Plan and its investments. The Settlement

Fund includes any award of Plaintiff’s attorney’s fees and costs, payment to the

Settlement Class members according to a plan of allocation to be approved by the Court,

fees of an independent settlement fiduciary, and all costs of settlement administration (as

set forth in the Settlement).

       Further, ADC, at its own expense and without reimbursement from the Settlement

Fund, will hire an independent advisor to advise the ADC Retirement Committee

regarding the ADC Stock Fund, and to retain such an advisor for three years. In lieu of

retaining an independent advisor, ADC or the ADC Retirement Committee may choose

to retain a third-party fiduciary with respect to the ADC Stock Fund. Additionally, ADC,

at its own expense and without reimbursement from the Settlement Fund, will provide

fiduciary training for ADC Retirement Committee members on an annual basis for a

three year period, unless ADC has retained a third-party fiduciary for the ADC Stock

Fund or does not offer the ADC Stock Fund as a Plan investment alternative.

       Notice of the settlement, in the form attached to the Settlement Agreement as

Exhibit D, will be sent by first-class mail to the current or last known addresses of all

class members. Further, the Notice will be timely published by counsel for the

Settlement class by creating a Settlement website (http://www.ADCerisasettlement.com)


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, separate from Settlement Class counsel’s firm websites. The website will allow Plan

participants to view a summary description of the Settlement, read a description of the

status of the case, access the Settlement Agreement and related Settlement documents,

review “frequently asked questions” regarding the litigation and Settlement, send e-mail

requests (or dial a toll-free number) for further information or additional questions.

       As a result of the Settlement, the Complaint will be dismissed with prejudice and

the Class’ (and the Plan’s as brought by Plaintiff) claims will be released, as described in

the Settlement Agreement. Additionally, as described in detail in the Settlement

Agreement, certain claims that have or could have been asserted by Defendants against

Michael Anderson, James Carnahan, Robert Crew, Marjorie Malinski and Lorraine

Osborne Devlin have been fully released.

                                 PROPOSED TIMETABLE

       The proposed Preliminary Approval Order (“Order”) includes a blank space for

the Court to provide a date of the final approval “fairness” hearing that must be held in

order to properly effectuate the Settlement. In this regard, Plaintiff proposes the

following schedule of events if the Court preliminarily approves the Settlement

Agreement (Plaintiff is in discussion with Defendants regarding certain of the dates

below – but the parties have agreed on the proposed Final Fairness Hearing date):

                   Event                                  Time for Compliance
Deadline for Delivering Notice to members       August 3, 2006
of the Settlement Class via first-class mail    (60 days prior to the Proposed Fairness
and establishment of a separate Settlement      Hearing)
website
Deadline for Class Members to comment           September 12, 2006
upon or object to the proposed Settlement       (20 days prior to the proposed Fairness


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                                                Hearing)
Deadline for Plaintiff to file motion for       September 22, 2006
final approval of the proposed settlement,      (10 days prior to the proposed Fairness
motion for approval of attorney’s fees and      Hearing)
expenses, and motion for approval of a case
contribution award to named plaintiffs.
Responses to class members’ objections
due.
Proposed Fairness Hearing                       October 2, 2006



       Further, at least ten (10) days prior to the Fairness Hearing, Plaintiff will file with

the Court a declaration certifying that they have distributed the Notice in full compliance

with the Order. As presented, the events set forth above are tied to the Fairness Hearing

Date, which the parties respectfully request be scheduled for October 2, 2006.

                                        ARGUMENT

I.     THE PROPOSED SETTLEMENT IS FAIR, REASONABLE, ADEQUATE
       AND SHOULD BE APPROVED BY THE COURT

       A.     The Law Favors and Encourages Settlements

              Plaintiff presents this Settlement to the Court for its review under Fed. R.

Civ. P. 23, which provides in pertinent part:

       (e)    Settlement, Voluntary Dismissal, or Compromise.

              (1)(A) The court must approve any settlement, voluntary
                     dismissal, or compromise of the claims, issues, or
                     defenses of a certified class.

              (B)    The court must direct notice in a reasonable manner to
                     all class members who would be bound by a proposed
                     settlement, voluntary dismissal, or compromise.

              (C)    The court may approve a settlement, voluntary
                     dismissal, or compromise that would bind class


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                      members only after a hearing and on finding that the
                      settlement, voluntary dismissal, or compromise is fair,
                      reasonable, and adequate.

         Federal courts strongly favor the voluntary resolution of complex class actions.

White v. NFL, 836 F. Supp. 1458, 1476, (D. Minn. August 19, 1993), citing Armstrong v.

Board of Sch. Directors, 616 F.2d 305, 312-13 (7th Cir. 1980); see also In re WorldCom,

Inc. ERISA Litig., No. 02-CV-4816, 2004 U.S. Dist. LEXIS 20671, * 24 (S.D.N.Y. Oct.

18, 2004); In re Union Carbide Corp. Consumer Prods. Bus. Sec. Litig., 718 F. Supp.

1099, 1103 (S.D.N.Y. 1989) (compromise is particularly appropriate in complex class

actions); Newberg & Conte, Newberg on Class Actions §11.41 (3d ed. 1992). In class

actions in particular, “there is an overriding public interest in favor of settlement.” In re

Charter Communications Inc. Securities Litigation,, 2005 U.S. Dist. LEXIS 14772, * 15

(E.D. Mo. June 30, 2005) citing Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977);

see also Little Rock Sch. Dist. V. Pulaski County Special Sch. Dist., 921 F.2d 1371, 1391

(8th Cir. 1990) (holding that the policy favoring settlement is so strong that such

settlement agreements are “presumptively valid”). Furthermore, “there is a presumption

of fairness when a settlement is negotiated at arm’s length by well informed counsel.” In

re Charter Communications Inc. Securities Litigation,, 2005 U.S. Dist. LEXIS 14772, *

19 (E.D. Mo. June 30, 2005) citing Weinberger v. Kendrick, 698 F.2d 61, 74 (2d Cir.

1982).     The district court has discretion in evaluating a class action settlement, and its

decision will not be overturned unless an abuse of discretion is shown.     White v. NFL, at

1476-77, citing Weiner v. Roth, 791 F.2d 661, 662 (8th Cir. 1986) (per curiam).




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       The Court has wide discretion in determining whether to approve a class action

settlement, however the Supreme Court has cautioned that in reviewing a proposed class

settlement, a court should “not decide the merits of the case or resolve unsettled legal

questions.” Carson v. American Brands, Inc., 450 U.S. 79, 88 n. 14 (1981), See also, City

of Detroit v. Grinnell Corp., 495 F.2d 448, 462 (2d Cir. 1974). Accord In re Visa

Check/Mastermoney Antitrust Litig., 297 F. Supp. 2d at 509. Because the object of the

settlement is to avoid, not confront, the determination of contested issues, the approval

process should not be converted into an abbreviated trial on the merits. Van Horn v.

Trickey, 840 F.2d 604, 607 (8th Cir. 1987) (“the court need not undertake the type of

detailed investigation that trying the case would involve.”). Instead, the Court’s inquiry

should be limited to the consideration of whether the proposed settlement is “fair,

reasonable and adequate.” Gottlieb v. Wiles, 11 F.3d 1004, 1014 (10th Cir. 1993)(citing

Jones v. Nuclear Pharmacy, Inc., 741 F.2d 322, 324 (10th Cir. 1984)). Rather, when

experienced counsel have negotiated and presented a settlement that has been negotiated

at arm’s-length in an adversarial setting, there is an initial presumption that the settlement

is fair and reasonable. Minolta Camera Prods. Antitrust Litigation, 668 F. Supp 456, 460

(D.Md 1987); Chatelain v. Prudential-Bache Sec., Inc., 805 F. Supp. 209, 212 (S.D.N.Y.

1992) (a strong initial presumption of fairness attaches to the proposed settlement if the

settlement is reached by experienced counsel after arm’s-length negotiations, and great

weight is accorded to the recommendations of counsel, who are most closely acquainted

with the facts of the underlying litigation).




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       This initial presumption of fairness and adequacy applies with special force here

because the Settlement was reached by experienced, fully-informed counsel after

protracted and intense arm’s-length negotiations. “So long as the integrity of the arm’s

length negotiation process is preserved . . . a strong initial presumption of fairness

attaches to the proposed settlement.” In re PaineWebber Ltd. P’ships Litig., 171 F.R.D.

104, 125 (S.D.N.Y. 1997). See also Manual for Complex Litigation § 30.43 at 289 (3d

ed. 2002); Newberg & Conte, Newberg on Class Actions § 11.42 (3d ed. 1992); 3B

Moore's Federal Practice ¶ 23.1.24[2] (2d ed. 1992). In addition, no question exists that

Plaintiff’s Counsel was fully informed of the merits and weaknesses of the case by the

time the Settlement was consummated. Thus, little doubt exists that this Settlement is

entitled to the initial presumption of fairness.

       Preliminary approval of a class action settlement should be granted if the court’s

initial evaluation of the proposal discloses neither grounds to doubt its fairness nor

obviously fatal deficiencies (such as unduly preferential treatment of segments of the

class), and appears to fall within the range of possible approval. See In re Vitamins

Antitrust Litig., 1999-2 Trade Cas. (CCH) ¶ 72,726 at 86,356 (D.D.C. 1999) (“Vitamins

Antitrust Litig.”), citing MANUAL FOR COMPLEX LITIGATION, THIRD, § 30.41 (West

1999), and In re Shell Oil Refinery, 155 F.R.D. 552, 555 (E.D. La. 1993).

       A hearing on a motion for preliminary approval is not a fairness hearing. Rather,

its purpose is to determine whether to notify class members of the proposed settlement

and proceed with a fairness hearing. See In re Traffic Executive Assoc. – Eastern

Railroads, 627 F.2d 631, 633 (2d Cir. 1980) (grant of preliminary approval is not


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“tantamount to a finding that the settlement is fair and reasonable. It is at most a

determination that there is what might be termed ‘probable cause’ to submit the proposal

to class members and hold a full-scale hearing as to its fairness”); Armstrong v. Board of

School Dirs., 616 F.2d 305, 314 (7th Cir. 1980).

       Plaintiffs submit that there are no grounds to doubt the fairness of this Settlement,

and that it contains no obvious deficiencies. As set forth below, application of each of

the relevant evaluative factors to the terms of the Settlement Agreement demonstrates

that the proposed settlement is fair, reasonable and adequate, and is well within the range

of “possible approval.” Moreover, the Court should bear in mind that, although Plaintiffs

address herein the factors for final settlement approval following class notice, they are

requesting only preliminary approval at this time.

       In sum, preliminary approval requires only that the settlement be within the range

of reasonableness, with no obviously fatal deficiencies, so that the settlement might be

approved following class notice. As discussed below, the proposed Settlement

Agreement easily meets this standard.

       B.     The Eighth Circuit’s Standards Governing Class Action Settlements

   “In approving a class settlement, the district court must consider whether it is ‘fair,

reasonable, and adequate.’” Van Horn v. Trickey, 840 F.2d 604, 606 (8th Cir. 1988)

(quoting Grunin v. Int’l House of Pancakes, 513 F.2d 114, 123 (8th Cir. 1975)). In

evaluating a proposed settlement, however, courts must “not decide the merits of the case

or resolve unsettled legal questions.” In re Charter Communications Inc. Securities

Litigation,, 2005 U.S. Dist. LEXIS 14772, * 17 (E.D. Mo. June 30, 2005) citing Carson


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v. American Brands, Inc. 450 U.S. 78, 88 n.14, (1981). In the Eighth Circuit, the courts

focus on several factors when determining whether a settlement is fair, reasonable and

adequate: (1) the merits of the plaintiff’s case, weighed against the terms of the

settlement; (2) the defendant’s financial condition; (3) the complexity and expense of

further litigation; and (4) the amount of opposition to the settlement.6 Grunin v. Int’l

House of Pancakes, 513 F.2d 114, 125 (8th Cir. 1975) (citations omitted).

    When analyzed under the facts of this case, all of these factors militate in favor of

approving this Settlement. Plaintiff addresses these factors in turn. Indeed, in the

experienced judgment of Plaintiff’s Counsel, there is serious doubt that a more favorable

result could be obtained if this case were litigated against Defendants through trial and

the inevitable post-trial motions and appeals. As such, the Settlement clearly satisfies the

relevant factors, set forth above, thereby warranting this Court’s preliminary approval.

              1.      The Merits of Plaintiff’s Case When Weighed Against the
                      Settlement Terms Favor Approval of the Proposed Settlement
                      Agreement.

                      a.     The merits of Plaintiff’s case

       Despite the strengths of Plaintiff’s case, Plaintiff faces numerous hurdles to

establish Defendants’ liability and prove existence and extent of any damages to the Plan

and class. To prevail on their ERISA claims, the Class must show that each Defendant

failed to comply with his, her or its duties under ERISA, a daunting undertaking


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  At this juncture, plaintiffs seek preliminary approval of the settlement, including
approval of the proposed class notice. Plaintiffs respectfully submit, therefore, that this
factor (level/content of objections, if any) is not critical at this preliminary stage, but will
be upon their request for final settlement approval.

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considering the uncertainty in this evolving area of the law. Defendants did and would

likely continue to present a number of defenses that have been upheld by some courts as

preventing ERISA recovery on behalf of a plan’s participants. These include: 1) that, as

a matter of law, ADC stock was not an “imprudent” plan investment; 2) that Defendants

did not function as ERISA fiduciaries with regard to Plan investments in ADC stock; 3)

that Plaintiff failed to plead or prove that ADC and the Individual Defendants breached

their fiduciary duty to monitor their alleged appointees, that Defendants breached their

fiduciary duty to disclose complete and accurate information to Plan participants (to the

extent that such a duty exists), or properly state a claim for co-fiduciary liability.

       Further militating in favor of settlement, other district courts have held that under

certain circumstances (such as when there are serious issues with plaintiff’s ability to

prove/present a fiduciary’s non-action in the face of material non-public

information/corporate malfeasance) there is no liability when fiduciaries invest in

employer securities, including several Circuit courts. See, e.g., Summers v. State St. Bank

& Trust Co., --- F.3d ----, 2006 WL 1751888 (7th Cir. June 28, 2006); Wright v. Or.

Metallurgical Corp., 222 F. Supp 2d 1224 (D. Or. 2002), aff’d, 360 F.3d 1090 (9th Cir.

2004); In re Syncor ERISA Litig., No. 03-CV-2446, 2006 U.S. Dist. LEXIS 976 (C.D.

Cal. Jan. 10, 2006); Smith v. Delta Air Lines, Inc., 422 F.Supp.2d 1310 (N.D. Ga. March

31, 2006); Crowley v. Corning, Inc., 234 F. Supp 2d 222 (W.D.N.Y. 2002); In re Duke

Energy ERISA Litig., 281 F. Supp. 2d 786 (W.D.N.C. 2003); In Re McKesson HBOC

ERISA Litigation, No. 00-CV-20030, 2002 WL 31431588 (N.D. Cal. Sept. 30, 2002);

Hull v. Policy Management Systems Corporation, No. 00-CV-778-17, 2001 WL 1836286


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(D.S.C. Feb. 9, 2001). Many of the dismissals were premised on the fact that the

company was not facing impending collapse or sufficiently dire financial circumstances.

Here, ADC (arguably at least) never threatened with imminent and certain bankruptcy (as

was the case in the much-publicized corporate collapses in Enron and WorldCom), even

though its stock declined significantly during much of the Class Period. If the Court

adopted the “impending collapse” standard of review regarding the Defendant-

fiduciaries’ conduct (despite Plaintiff’s protestations) in ruling on soon-to-be-filed

motions for summary judgment, the Settlement Class would have recovered nothing.

(This is especially true here as Plaintiffs and Defendants were involved in a number of

running discovery disputes involving production of documents and requested alteration of

the discovery/expert report schedule. If Plaintiffs did not prevail in convincing the Court

to overturn certain decisions of Magistrate Judge Franklin L. Noel ((an appeal was

pending before the Court as the parties’ culminated their settlement efforts)), they likely

would have been precluded from fully utilizing – in their view – their fiduciary and

ERISA damages experts, increasing the likelihood that Defendants’ would prevail on a

dispositive motion or at trial.)

       Thus, this action (1) involves claims for relief under theories of liability and

recovery that are still in the process of development and (2) may have gone to trial with

Plaintiff – in their view which Defendants’ vigorously and effectively contested – not

having an opportunity to present a full array of expert testimony. While Plaintiff’s

Counsel remains confident in their ultimate ability to prove the claims asserted, and were

prepared to follow through with the litigation through trial and/or appeals, the risks of the


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case being dismissed at the summary judgment stage, or of losing at trial, when weighed

against the immediate benefits of settlement, indicate that the Settlement is in the best

interest of the Class.

       In addition to establishing Defendants’ liability, Plaintiff also faces substantial risk

in proving damages. Establishing ERISA damages involving the imprudent investment

of ERISA pension plan assets was first set out in Donovan v. Bierwirth, 754 F.2d 1049,

1056 (2d Cir. 1985). ERISA requires the breaching fiduciaries to make good to the plan

the difference between the most profitable plan alternative and the challenged imprudent

investment. Donovan, 754 F.2d at 1056 (“[w]here several alternative investment

strategies were equally plausible, the court should presume that the funds would have

been used in the most profitable of these.”).

       In general, the calculation of “ERISA” damages would be “complex, time-

consuming and expensive,” See, e.g., In re Global Crossing Securities & ERISA Litig.,

225 F.R.D. 436, 460 (S.D. N.Y. 2004) (“Global Crossing”). Plaintiff retained experts to

perform damage calculations in advance of the mediation conducted in this matter.

However, preparations for trial would entail a great amount of time, effort and expense.

Calculation of damages would have to be brought through full discovery process and

adjudication where the judge, as trier of fact, can set the relevant time period when the

relevant investment was to be considered “imprudent” for the plan at issue (a factually

intensive question in and of itself). See Donovan, 754 F.2d at 1057. Damages

calculations in ERISA cases like this are, in practice, computer- and expert-intensive.

The proof invariably requires a sophisticated computer model of the plans involved,


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usually tracking the assets held by the plan and its participants, purchases and sales of the

individual accounts of participants as well as any relevant assets held, purchased and/or

sold by the plan but not allocated to its participants. These calculations must be

repeatedly performed to calculate damages suffered by each participant’s account as well

as the plan as a whole. An expert must create the model, test it, and effectively explain it.

This sort of complexity, or the possibilities of glitches in the model, can have unexpected

results. This type of complexity favors early resolution. In re Warner Communications

Sec. Litigation, 618 F. Supp. 735, 744 (S.D.N.Y. 1985); Milken & Assoc. Sec. Lit., 150

F.R.D. at 54 (approving settlement and noting that damage calculations is often a “battle

of the expert, with no guarantee of the outcome”)7; Bonime v. Doyle, 416 F. Supp. 1372

(S.D.N.Y. 1976), aff’d, 556 F.2d 555 (2d Cir. 1977) (difficulty in determining damages a

factor supporting settlement).

       As indicated above, the determination of ERISA damages would invariably

require the presentation of expert testimony. While Plaintiffs’ Counsel believes that

reliable and convincing expert testimony will be provided on the damages question (with

the caveats regarding expert testimony described above), and that a judgment could

7
  See, e.g., PaineWebber, 171 F.R.D. at 129 (noting unpredictability of outcome of battle
of damage experts); Warner Communications, 618 F. Supp. at 744-45 (“In this battle of
experts, it is virtually impossible to predict with any certainty which testimony would be
credited, and ultimately, which damages would be found to have been caused by
actionable, rather than the myriad nonactionable factors such as general market
conditions.”). See also In re Cendant Corp. Litig., 264 F.3d 201, 239 (3d Cir. 2001)
(“establishing damages at trial would lead to a ‘battle of experts’ . . . with no guarantee
whom the jury would believe”); United States v. 412.93 Acres of Land, 455 F.2d 1242,
1247 (3d Cir. 1972) (jury under no obligation to accept as completely true testimony of
any expert witness).


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ultimately be obtained for the full amount of damages available to the Class under the

law, meaningful legal (in addition to the expense/practical roadblocks) obstacles remain.

First, the Court must determine that Plaintiff’s damages model is admissible. The Class

is by no means assured of a ruling in its favor. See, e.g., Kaufman v. Motorola, Inc., No.

95-C-1069, 2000 U.S. Dist. LEXIS 14627, at *7 (N.D. Ill. Sept. 21, 2000) (precluding in

part plaintiffs’ expert testimony). It is possible that the finder of fact might disagree with

the Class’ expert, or merely find Defendants’ expert more persuasive.

       In a case such as this, where Defendants’ potential damage models are arguably

more superficially straight-forward than Plaintiffs’ analyses, such a result is not

inconceivable. As a result of the aforementioned considerations, the likelihood of

proving damages even assuming the Class prevailed on the liability issue is unclear, both

as to the extent and methodology. “In short, the legal and factual complexities and

uncertainties of proving ERISA damages also militate in favor of settlement.” In re

Global Crossing, 225 F.R.D. at 460.

              b.     The terms of the Settlement agreement favor approval

       As discussed above, the proposed settlement benefits the entire class. The

proposed settlement has two components. First, it provides a payment by Defendants in

the amount of ($3,250,000.00) to a Settlement Fund, which includes Plaintiff’s attorney’s

fees and costs, payment to Settlement Class members, fees of an independent settlement

fiduciary, and all costs of settlement administration. Second, it includes structural

changes to the administration of the Plan and its investments that will benefit the




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participants and adequately addresses the problems that necessitated the filing of this

lawsuit originally.

       To repeat, ADC, at its own expense and separate from the Settlement Fund, will

hire an independent advisor to advise the ADC Retirement Committee regarding the

ADC Stock Fund, and to retain such an advisor for three years. In lieu of retaining an

independent advisor, ADC or the ADC Retirement Committee may choose to retain a

third-party fiduciary with respect to the ADC Stock Fund. Additionally, ADC, at its own

expense and without reimbursement from the Settlement Fund, has also agreed to provide

fiduciary training for ADC Retirement Committee members on an annual basis for a

three year period, unless ADC has retained a third-party fiduciary for the ADC Stock

Fund or does not offer the ADC Stock Fund as a Plan investment alternative.

              2.      Defendants’ Financial condition

       Plaintiffs do not contend that Defendants could not withstand a larger judgment,

but this is no obstacle to approving the Settlement. Countless settlements have been

approved where a settling defendant has had the ability to pay greater amounts. See, e.g.,

In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 538 (3rd Cir. 2004) (“[T]he fact

that DuPont could afford to pay more does not mean that it is obligated to pay any more

than what the ... class members are entitled to under the theories of liability that existed at

the time the settlement was reached.”); Young Soon Oh v. AT & T Corp., 225 F.R.D. 142,

150-51 (D.N.J. 2004); In re Linerboard Antitrust Litig., 321 F. Supp. 2d 619, 632 (E.D.

Pa. 2004). “This is especially true where, as here, the other [settlement evaluation]




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factors weigh heavily in favor of settlement.” See, e.g., Global Crossing, 225 F.R.D. at

462.

              3.     The complexity and further expense of continued litigation
                     weighs in favor of the proposed settlement

       “The possible length and complexity of further litigation is a relevant

consideration to the trial court in determining whether a class action settlement agreement

should be affirmed.” In re Wireless Telephone Cost Recovery Fees Litigation, 2004 U.S.

Dist. LEXIS 23342, * 39 (W.D. Mo. April 20, 2004). Here, the ERISA claims advanced

by the Plaintiffs involve numerous complex legal and factual issues, which will require

many additional depositions and expert discovery and testimony, exponentially adding to

the expense and duration of the litigation. As noted above, Plaintiffs allege and therefore

would be required to prove at trial that Defendants breached their ERISA-mandated

duties by: (i) failing to prudently and loyally manage the Plan’s assets; (ii) failing to

monitor the committee Defendants and provide them with accurate information; (iii)

failing to loyally serve the Plan and its participants due to unresolved conflicts of interest;

and (v) knowingly enabling their co-fiduciaries to commit breaches of their fiduciary

responsibilities. Conducting the balance of fact (if Plaintiff were to prevail on certain

discovery motions/appeal(s)) and expert discovery/motion practice by itself, would be an

extremely complex and expensive endeavor. It is not difficult to envision many months

of additional costly and hotly contested fact and expert discovery, as well as dispositive

motions and motions in limine and other pre-trial litigation. These factors, therefore,

weigh heavily in favor of settlement. See In Re Charter Communications, Inc. Securities



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Litigation, 2005 U.S. Dist. LEXIS 14772, at * 26-27 (E.D. Mo. June 30, 2005) (court

approved settlement where further litigation would take years and cost millions of

dollars, which in turn would deplete insurance policy proceeds funding the cash portion

of the settlement).

       The legal issues implicated by this Lawsuit are complex and will require extensive

and expensive expert testimony as well as multiple dispositive motions and likely

appeals. The Southern District of New York has recently described in a similar ERISA

case the fact that there is a “general risk inherent in litigating complex claims such as

these to their conclusion.” In re WorldCom, Inc. ERISA Litig., No. 02-CV-4816, 2004

U.S. Dist. LEXIS 20671, *25 (S.D.N.Y. Oct. 18, 2004) (approving settlement). Clearly,

the complex nature of this type of case weighs in favor of settlement. In In re Global

Crossing Securities and ERISA Litig., the court noted:

              The ERISA cases would pose additional factual and legal
              issues. Fiduciary status, the scope of fiduciary responsibility,
              the appropriate fiduciary response to the Plans’ concentration
              in company stock and [company] business practices would be
              issues for proof, and numerous legal issues concerning
              fiduciary liability in connection with company stock in 401(k)
              plans remain unresolved. These uncertainties would
              substantially increase the ERISA cases’ complexity, duration,
              and expense -- and thus militate in favor of settlement
              approval.

225 F.R.D. 436, 456 (S.D.N.Y. 2004). See also DiFelice v. U.S. Airways, Inc., ---

F.Supp.2d ----, 2006 WL 1793624 (E.D. Va. June 26, 2006) (holding, in an analogous

action and after a bench trial which followed extensive discovery and dispositive and




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class certification motion practice, that the defendant-fiduciaries’ actions were prudent

despite the long slide of U.S. Airways stock price).

       There exists no doubt that because this case is settling before what would

undoubtedly be: (1) lengthy, costly and intense discovery, including expert discovery,

and (2) the filing of motions for summary judgment, final trial preparation, trial, and

appeals, the litigants have been spared the majority of the delay and expense of continued

litigation, and countless hours of the Court’s time and resources have also been spared.

Moreover, even if the Class could recover a judgment after a trial, the additional delay

through trial, post-trial motions, and the appellate process could deny the Class any

recovery for years, which would further reduce its value. See Strougo v. Bassini, 258 F.

Supp. 2d 254, 261 (S.D. N.Y. 2003) (“even if a shareholder or class member is willing to

assume all the risks of pursuing the actions through further litigation. . . the passage of

time would introduce yet more risks . . . in light of the time value of money, make future

recoveries less valuable than this current recovery); Chatelain v. Prudential-Bache Sec.,

805 F. Supp. 209, 213 (S.D. N.Y. 1992) (holding that costs and uncertainty attendant

with trial and possible appeal are factors that favor settlement). Furthermore, a winning

jury/bench verdict does not provide absolute assurance of recovery, where post-trial

motions and appeals are likely to ensue. See, e.g., Robbins v. Koger Props., Inc., 116

F.3d 1441, 1449 (11th Cir. 1997) (reversing on appeal $81 million jury verdict and

dismissing case with prejudice in securities action).8


8
  Even a trial verdict “is not a guarantee of ultimate success.” Milken, 150 F.R.D. at 53
(noting reversal of multimillion dollar judgment in Berkey Photo, Inc. v. Eastman Kodak

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       The Settlement, which consists of highly valuable structural relief to the Plan and

the implementation of other safeguards to protect the Plan’s participants and beneficiaries

results in a substantial tangible recovery at this point, without the considerable risk,

expense, and delay of trial. This result weighs heavily in favor of the proposed

Settlement. See Slomovics v. All for a Dollar, Inc., 906 F. Supp. 146, 149 (E.D.N.Y.

1995) (“The potential for this litigation to result in great expense and to continue for a

long time suggest that settlement is in the best interests of the Class”); Global Crossing,

225 F.R.D. at 456 (“the proposed partial settlement would grant relief to all class

members without subjecting them to the risks, complexity, duration and expense of

continuing litigation.”). Therefore, Plaintiff submits that the Court should find that this

first factor weighs in favor of the Settlement.

       C.     The Settlement is being thoroughly vetted by an
              Independent Fiduciary

       Another factor the Court should take into consideration when evaluating this

creative and extensively negotiated Settlement (preliminarily and finally) is the fact that a

qualified and independent fiduciary, retained by the Plan, is and has been for some time

thoroughly studying the Settlement’s terms. Courts evaluating settlements of similar

claims have cited with approval independent fiduciary review of a settlement’s terms.

See, e.g., Global Crossing, 225 F.R.D. at 462 (noting that such review helps to drastically

reduce “the likelihood of a collusive settlement between defendants and plaintiffs'

lawyers at the expense of the plaintiff class[]”).

Co., 457 F. Supp. 404 (S.D.N.Y. 1978), aff’d in part, rev’d in part, 603 F.2d 263 (2d Cir.
1979)).

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       As noted in the Settlement, the parties agree that they will comply with the terms

of the Department of Labor’s Exemption for the “Release of Claims and Extensions of

Credit in Connection with Litigation,” PTE 2003-39 (68 Fed. Reg. 75632 (Dec. 31,

2003)). To do so, the Retirement Committee of the Plan, by agreement of Plaintiff’s

counsel, has retained U.S. Trust to serve as an independent fiduciary. U.S. Trust has

advised the Parties that their review of the settlement will be complete in the near future

and a preliminary report should be forthcoming soon. The parties will convey both of

these reports to the Court forthwith.

II.    THE PROPOSED NOTICE PLAN AND THE CLAIMS PROCEDURE
       SHOULD BE APPROVED BY THE COURT

       A.     Description of Notice Plan

       The proposed Notice Plan will fully apprise Settlement Class members of the

existence of the lawsuit, the proposed Settlement, and the information they need to make

informed decisions about their rights. The Notice Plan consists of multiple components

designed to reach class members. First and foremost, Plaintiffs, with the aid of

Defendants, will mail a copy of the Notice9 by first class mail to the current or last known

addresses of all class members. Further, Plaintiff will publish the Notice on a website

dedicated to this settlement.10 This plan is specifically formulated to reach as much of


9
 The proposed form of Notice is attached as Exhibit D to the Settlement Agreement,
which is itself Exhibit 1 of the Meltzer Affidavit.
10
   As noted above, Plaintiffs’ dedicated Settlement website will also allow Plan
participants to view a summary description of the settlement, read a description of the
status of the case, access the Settlement Agreement and related Settlement documents,
review answers to “frequently asked questions” regarding the litigation and settlement,

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the target audience as possible. Moreover, the number of exposure opportunities to the

Notice information is adequate and reasonable under the circumstances and consistent

with standards employed in notification programs designed to reach unidentified

members of settlement groups or classes.

       The Notice itself provides even more detailed information about the proposed

Settlement, including a comprehensive summary of its terms, a summary of the

(potential) requested attorneys’ fees, litigation costs and Plaintiff incentive awards, and

detailed information on the terms of the releases of claims. In addition, the Notice

provides information about the Final Fairness Hearing date, Settlement Class members’

rights to object (and deadlines and procedures for objecting), and the procedure to receive

additional information.

       All facets of the Notice Plan will provide potential class members with contact

information for class counsel.

       B.     The Proposed Notice Plan and Claims Procedures Meet the
              Requirements of Due Process

       Plaintiff believes that the combination of first class direct mail and an Internet

website publication will result in a very high percentage of actual notice to affected

participants and beneficiaries. This ensures that the proposed notices and notice plan not

only meet but exceed the mandates of due process.




and send email requests for further information or additional questions. Plaintiff’s
counsel has reserved www.adcerisasettlement.com as the website dedicated to the
Settlement.

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       In order to satisfy due process considerations, notice to class members must be

“reasonably calculated under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.”

Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). As several

courts have noted, the nature of an ERISA class action brought on behalf of a plan

prevents permitting members of the class to opt out. See Gruby v. Brady, 838 F. Supp.

820, 827 (S.D.N.Y. 1993) (“as Fund participants may bring an action only in a

representative capacity on behalf of the entire Fund, the proposed class must include all

Fund participants”).

       Nonetheless, courts typically require notice to absent class members in such

breach of fiduciary duty actions under ERISA, as well as the opportunity for them to

object to the proposed settlement. Accordingly, the form of notice must be sufficient to

accomplish this purpose. However, as the Second Circuit has noted, “it is widely

recognized that for the due process standard to be met it is not necessary that every class

member receive actual, so long as class counsel acted reasonably in selecting means

likely to inform persons affected.” In re Prudential, 164 F.R.D. 362 at 368; See also

Weigner v. The City of New York, 852 F.2d 646, 649 (2d Cir. 1988). “For non-opt-out

cases, such as the ERISA Actions, Rule 23 requires only such unspecified appropriate

notice as the court may direct.” Global Crossing, 225 F.R.D. at 448 (quoting Fed. R.

Civ. P. 23(c)(2)(A)). Here, the forms and methods of notice of proposed settlement

agreed to by the parties satisfies all due process considerations and meets the

requirements of Fed. R. Civ. P. 23(e)(1)(B).


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         The proposed notice forms are similar to those successfully used in numerous

other class settlements. As with the those approved notices, the Notice “fairly,

accurately, and neutrally describe the claims and parties in the litigation, the terms of the

proposed settlement and the identity of persons entitled to participate in it,” and apprise

affected consumers of their options with regard to the proposed settlement, thus fulfilling

due process requirements. Foe v. Cuomo, 700 F. Supp. 107, 113 (E.D.N.Y. 1988), aff’d,

892 F.2d 196 (2d Cir. 1988), cert. denied, 498 U.S. 972 (1988). See also Mullane v.

Central Hanover Bank and Trust Co., 339 U.S. 306 (1950); Weinberger v. Kendrick, 698

F.2d 61, 70 (2d Cir. 1982).

         Similar notice plans to the instant utilized in the settlement of analogous actions

have been judicially approved as appropriate, fair and adequate.            See, e.g., In re

WorldCom, Inc. ERISA Litig., No. 02-CV-4816, 2004 U.S. Dist. LEXIS 20671, *15-*16

(S.D.N.Y. Oct. 18, 2004); Global Crossing, 225 F.R.D. at 448-49 (noting that a Notice

Plan similar to the one proposed here “went well beyond the requirements for the non-

opt-out ERISA classes”).11 Class counsel respectfully submit that adequate notice will be

provided to prospective class members in this matter.

III.         CONDITIONAL CLASS CERTIFICATION FOR SETTLEMENT
             PURPOSES

         Plaintiff, pursuant to the Settlement Agreement, seeks certification of the

following class for settlement purposes only:

                All persons who were participants or beneficiaries in the Plan
                at any time between February 24, 2000 and October 26, 2005

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     Plaintiff can provide the Court with examples upon request.

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              and whose accounts included investments in ADC stock or
              the ADC Stock Fund (excluding Defendants).

Additionally, the parties stipulate to the conditional amendment of the pleadings to allow

Michael Anderson to be a named plaintiff and class representative for settlement

purposes only. Further, the parties agree to the conditional certification of a settlement

class to be certified as a non-opt out class under Fed. R. Civ. P, 23(b)(1) and 23(b)(2).

       Under Rule 23 of the Federal Rules of Civil Procedure, the Court must engage in a

two-step analysis in order to determine whether it should certify class action for

settlement purposes. Rule 23(a) sets forth four prerequisites to class certification,

typically referred to as: (1) numerosity, (2) commonality, (3) typicality, and (4) adequacy

of representation. Marisol A. v. Giuliani, 126 F.3d 372 (2d Cir. 1997). In addition,

Plaintiffs must satisfy the requirements of one or more of the three subsections of Rule

23(b). Here, Plaintiffs can easily satisfy the prerequisites of Rule 23(a), as well as the

alternative requirements of Rule 23(b)(1) or 23(b)(2).

       As stated above, this Court issued an opinion on September 15, 2005 regarding

Plaintiff’s Motion to Certify the Class. Defendants did not challenge that the then-

proposed class met the “numerosity” requirement under Rule 23(a) or that the proposed

class representative brought claims that were “typical” of the rest of the proposed Class.

Therefore the Court found these prerequisites satisfied. Further, the Court held that this

class action most appropriately falls under Rule 23(b)(1) as Defendants were alleged to

have treated all class members similarly – the alleged fiduciary breaches affected each




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member of the proposed class and the alleged misrepresentations of Defendants were

disseminated to all class members.

       A.     Plaintiffs Have Satisfied All Prerequisites for Class Certification

       Plaintiff clearly meets the requirements for certification under Fed. R. Civ. P. 23.

Judge Tunheim of this District recently reviewed the criteria for class certification:

              The Court assumes a familiarity with the requirements of
              class certification and only briefly reviews those
              requirements. Federal Rule of Civil Procedure 23 sets forth
              the requirements for class action certification. For a class to
              qualify for certification, each of the requirements of Rule
              23(a) must be satisfied. Rule 23(a) requires the proponents of
              certification to establish each of the following: (1) that the
              members of the proposed class are so numerous that joinder
              of the individual claims would be impracticable; (2) that there
              is commonality among issues of law or fact raised by the
              class members; (3) that the claims of the proposed class
              representatives are typical of the claims of the class members;
              and (4) that the proposed class representatives will adequately
              represent the interests of the class.

              If all requirements of 23(a) are satisfied, the class proponents
              must also satisfy one of the three requirements of 23(b). Rule
              23(b) identifies three different types of class actions, and the
              proposed class must fit into one of those three “types.”

In re St. Jude Med., Inc., 2004 U.S. Dist. LEXIS 149, 5-6 (D.Minn. 2004). This court has

broad discretion to determine whether the class should be certified. Darms v. McCulloch

Oil Corp., 720 F.2d 490 (8th Cir. 1983). Using this discretion, courts interpret Rule 23

liberally to effectuate its policy of fostering the class-wide resolution of similar claims

against a common defendant. See, e.g., Donaldson v. Pillsbury Co., 554 F.2d 825, 831

(8th Cir. 1977) (“We are committed to the proposition that Rule 23 should be liberally

construed . . .”); Buchholtz v. Swift & Co, 62 F.R.D. 581, 595 (D.Minn. 1973) ([A]s


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remedial legislation, Rule 23 has generally been accorded a liberal interpretation.”); see

also 3B Moore’s Federal Practice P 23.02[4], at 23-70 and 71 (citing Eisen v. Carlisle &

Jacquelin, 391 F.2d 555 (2nd Cir. 1968)(“Any type of civil claim, federal or state, may be

maintained as a class action in federal court, and Rule 23 should be liberally construed

and applied.”).

       This ERISA action is clearly appropriate for certification as a class action;12 each

of these prerequisites are satisfied.

              1.      Rule 23(a)(1) – “Numerosity”

       In order to demonstrate numerosity, plaintiffs must show that joinder is

‘impracticable,’ not that it is ‘impossible.’” In re WorldCom, Inc. Secs. Litig., 219 F.R.D.

267, 279 (S.D.N.Y. 2003) (citing Robidoux v. Celani, 987 F.2d 931, 935 (2d Cir. 1993));

Global Crossing, 225 F.R.D. at 451 (finding the numerosity standard had been met in a

directly analogous ERISA breach of fiduciary duty case). In Paxton v. Union National

Bank, 688 F.2d 552 (8th Cir. 1982), the Eighth Circuit cited with approval cases certifying

classes of sixteen and eighteen members on grounds, in part, that joinder was

impracticable. Id. at 561 (citing Cypress v. Newport News Gen. & Nonsectarian Hosp.

Ass’n, 375 F.2d 648, 653 (4th Cir. 1967) (eighteen class members); Crenshaw v. Maloney,

13 Fair Empl. Prac. Cas. (BNA) 154, 155 (D.Conn. 1976) (sixteen class members)). In

12
   Courts across the country have certified very similar actions to this breach of ERISA
fiduciary duty action. See e.g., In re WorldCom, Inc. ERISA Litig., Master File 02 Civ.
4816 (DLC), 2004 U.S. Dist. LEXIS 19786 (S.D.N.Y. Oct. 4, 2004); In re CMS Energy
ERISA Litig., Master File No. 02-CV-72834 (E.D. Mich. Dec. 27, 2004) (Opinion and
Order); Rankin v. Rots, 220 F.R.D. 511, 522-23 (E.D. Mich. 2004); In re Ikon Office
Solutions, Inc., 191 F.R.D. 457, 462 (E.D. Pa. 2000); Furstenau v. AT & T Corp., No. 02-
5409, 2004 U.S. Dist. LEXIS 27042 (D.N.J. Sept. 2, 2004).

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Arkansas Educ. Ass’n v. Board of Educ., 446 F.2d 763, 765 (8th Cir. 1971), the Eighth

Circuit held that a class of twenty was sufficient to satisfy the numerosity requirement.

“Indeed, numerosity is presumed at a level of 40 members.” Consol. Rail. Corp. v. Town

of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995) (citing 1 Herbert Newberg & Albert

Conte, Newberg on Class Actions § 3:05 (2d ed. 1985)).

       According to the Plan’s Summary Annual Reports to the Department of Labor,

there were 11,068 participants in or beneficiaries of the Plan as of December 31, 2000,

8,682 participants or beneficiaries as of December 31, 2001, and 6,490 as of December

31, 2002. See Complaint, n. 7. Thus, not only does the sheer size of the prospective

Class make joinder most impracticable, but the geographic dispersion of the putative

class members who have been laid-off by ADC (and likely sought employment in other

areas of the country) is another factor lending to a finding for numerosity. The Rule’s

“numerosity” requirement is therefore satisfied. There is no question that joining all

members of the Class would be impracticable.

              2.     Rule 23(a)(2) – “Commonality”

       The threshold commonality inquiry is whether there are any questions of fact or

law that are common to the class. Fed. R. Civ. P. 23(a)(2). A common nucleus of

operative facts is usually sufficient to satisfy the commonality requirement. See Scott v.

Aetna Servs., Inc., 210 F.R.D. 261, 267 (D. Conn. 2002). See also Marisol A. v.

Guiliani, 126 F.3d 372, 376 (2d Cir. 1997) (“The commonality requirement is met if

plaintiffs’ grievances share a common question of law or fact) (emphasis added); In re




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“Agent Orange” Prod. Liab. Litig., 818 F.2d 145, 166-67 (2d Cir. 1987). Courts in this

District have analyzed commonality in the following manner:

              All such questions need not be common to every member of
              the class. See Paxton v. Union National Bank, 688 F.2d 552,
              561 (8th Cir. 1982); . . . 23(a)(2) may be satisfied where the
              course of conduct leading to a cause of action affects all class
              members and at least one of the elements for that cause of
              action is shared by the class members. See Forbush v. J.C.
              Penney Co., Inc., 994 F.2d 1101, 1106 (5th Cir. 1993)(finding
              commonality despite the fact that four different pension plans
              were involved); Lockwood, 163 F.R.D. at 575 (citing
              Newberg, Class Actions § 3.10 at 3-50) . . . Commonality
              exists if “the question of law linking the class members is
              substantially related to the resolution of the litigation even
              though the individuals are not identically situated.” Paxton,
              688 F.2d at 561 (citation omitted); see also Coley, 635 F.2d at
              1378.

Smith v. United Healthcare Servs., No. 00-CV-1163, 2002 U.S. Dist. LEXIS 2140, *9-11

(D. Minn. 2002)(Class certification granted on ERISA claim where there were over one

million subscribers affected by an allegedly improper billing practice and interpretation

of plan language applied equally to similarly situated subscribers).

       This requirement “is not demanding” and is easily satisfied in the context of an

ERISA action. See Global Crossing, 225 F.R.D. at 451 (finding numerous questions of

law or fact common to members of ERISA settlement class). Indeed, “the question of

defendants’ liability for ERISA violations is common to all class members because a

breach of fiduciary duty affects all participants and beneficiaries.” Banyai v. Mazur, 205

F.R.D. 160, 163 (S.D.N.Y. 2002). This ERISA case undoubtedly satisfies the

commonality requirement. Here, numerous common questions exist with respect to each

member of the proposed class, and include, inter alia, the following:


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       a.     whether Defendants were fiduciaries of the Plan and/or the participants;

       b.     whether Defendants breached their fiduciary duties;

       c.     whether the Plan and the participants were injured by such breaches; and

       d.     whether the Plan and the Class is entitled to damages and injunctive relief.

       “All of these questions are sufficient to satisfy plaintiffs’ burden under Rule

23(a)(2) because they all address common issues of owed fiduciary responsibility to the

plan participants. Moore v. Simpson, No. 96-CV-2971, 1997 U.S. Dist. LEXIS 13791,

*9-10 (N.D. Ill. Sept. 5, 1997); see also In re WorldCom, Inc. ERISA Litig., No. 02-CV-

4816, 2004 U.S. Dist. LEXIS 19786, *7-8 (S.D.N.Y. Oct. 4, 2004).

       ERISA actions, by their very nature, often present common questions of law and

fact, and are, therefore, frequently certified as class actions. “In general, the question of

defendants’ liability for ERISA violations is common to all class members because a

breach of a fiduciary duty affects all participants and beneficiaries.” Banyai v. Mazur,

205 F.R.D. at 163 (citing Gruby v. Brady, 838 F. Supp. 820, 828 (S.D.N.Y. 1993).

Courts frequently find commonality in class actions brought under ERISA. See, e.g,

Kolar v. Rite Aid Corp., No. 01-CV-1229, 2003 WL 1257272. *2 (E.D. Pa. Mar. 11,

2003) (finding that in ERISA breach of fiduciary duty case, the existence of common

issues was obvious); Amara v. CIGNA Corp., No. 01-CV-2361, 2002 U.S. Dist. LEXIS

25947 at *8-9 (D. Conn. Dec. 20, 2002) (noting that ERISA cases turn on core questions

of law); Koch v. Dwyer, No. 98-CV-5519, 2001 U.S. Dist. LEXIS 4085 (S.D.N.Y. Mar.

22, 2001) (finding common issues of fact and law presented in breach of fiduciary duty




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case, noting “[t]he relationships among the parties . . . are governed by written plan

documents under the standards set by ERISA”).

       Indeed, even issues of damages13 and reliance14 do not preclude class certification.

Wachtel v. Guardian Life Ins. Co., 223 F.R.D. 196, 214 (D.N.J. 2004); Feret v.

Corestates Fin. Corp, No. 97-CV-6759, 1998 U.S. Dist. LEXIS 12734, *22-*35 (E.D.

Pa. Aug. 18, 1988) (finding commonality requirement met in analogous action,

notwithstanding individual questions of reliance and damages). Consequently, Plaintiff

clearly demonstrates a level of commonality which is more than sufficient under Rule

23(a)(2).




13
   See Ikon, 191 F.R.D. at 463-65 (finding commonality in directly analogous case
despite potential differences in calculating damages among class members); In re
Mercedes-Benz Antitrust Litig., 213 F.R.D. 180, 192 (D.N.J. 2003) (noting damages can
be addressed after determination of liability on class-wide basis has been made);
Furstenau, 2004 U.S. Dist. LEXIS 27042, at *9 (declining to limit class to only
purchasers of company’s stock in retirement plan and holding ERISA does not place any
such “limitation on the scope of liability of fiduciaries”).
14
   See Furstenau, 2004 U.S. Dist. LEXIS 27042, at *6 (collecting cases and asserting that
district courts have agreed with the proposition that individual reliance does not defeat
commonality); In re Honeywell Int’l ERISA Litig., No. 03-CV-1214, 2004 U.S. Dist.
LEXIS 21585, *52 (D.N.J. Sept. 14, 2004); Ikon I, 191 F.R.D. at 463-65; see also
Eisenberg v. Gagnon, 766 F.2d 770, 786 (3d Cir. 1985) (“Eisenberg”) (rejecting
argument that individual questions regarding reliance of each investor in class
predominated over common issues, and noting contrary conclusion would preclude class
actions for securities fraud).


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       For all of these reasons, as well as for the reasons set forth in the typicality

discussion below,15 Plaintiff’s claims are common to the claims of the class in accordance

with Rule 23(a).

              3.     Rule 23(a)(3) – “Typicality”

       Typicality exists where the “claims of the representative plaintiffs arise from the

same course of conduct that gives rise to claims of other class members, where the claims

are based on the same legal theory, and where the class members have allegedly been

injured by the same course of conduct as that which allegedly injured the proposed

representatives.” Global Crossing, 225 F.R.D. at 452 (quoting In re Oxford Health Plans,

Inc., Sec. Litig., 191 F.R.D. 369, 375 (S.D.N.Y. 2000)); see also Robidoux, 987 F.2d at

936-37 (“When it is alleged that the same unlawful conduct was directed at or affected

both the named plaintiff and the class sought to be represented, the typicality requirement

is usually met irrespective of minor variations in the fact patterns underlying individual

claims”).

       In the Eighth Circuit, “the ‘burden of demonstrating typicality is fairly and easily

met so long as other class members have claims similar to the named plaintiff . . . [and]

this typicality is not altered by the different mortgage instruments held by class members.

The relief sought in the action is the same regardless of the amount of overage in any

particular account.’” Farthing v. United Healthcare of the Midwest, Inc., No. 98-Cv-4,

2000 U.S. Dist. LEXIS 21995, *11-12 (W.D. Mo. 2000) (quoting DeBoer v. Mellon

15
  See Marisol A. v. Guiliani, 126 F.3d at 376 (“The commonality and typicality
requirements tend to merge into one another, so that similar considerations animate
analysis of Rules 23(a)(2) and (3)”).

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Mortgage Co., 64 F.3d 1171 (8th Cir. 1995). In addition, there is no requirement that the

circumstances of the named Plaintiffs and the potential class be entirely identical:

              The claims or potential defenses need not be identical, and
              typicality usually will be satisfied if the claims or defenses of
              the representatives and the class stem from the same events or
              rest on the same legal theories. When the claims or defenses
              of the representatives and the class are based on the same
              course of conduct or legal theory, it is thought that the
              representatives will advance the interest of the class members
              by advancing his or her own interests.

       Typicality, therefore, is often met in putative class actions brought for breaches of

fiduciary duty under ERISA. See e.g., Koch v. Dwyer, No. 98-CV-5519, 2001 U.S. Dist.

LEXIS 4085 at *9 (S.D.N.Y. Mar. 23, 2001) (finding typicality of claims in analogous

action where named plaintiff was ERISA plan participant during putative class period and

plan’s fiduciaries treated all participants alike); Global Crossing, 225 F.R.D. at 452

(finding typicality of claims: “the class representatives’ and the class members’ claims

arise from the same alleged course of conduct are based on the same legal theories”);

IKON, 191 F.R.D. at 465 (finding typicality of claims: “the named plaintiffs and the

putative class would necessarily allege a similar course of conduct; that IKON and the

individual defendants failed to provide accurate information in violation of ERISA

obligations”); In re CMS Energy ERISA Litigation, 225 F.R.D. 539, 543 (E.D. Mich.

2004) (holding in a directly analogous action that since plaintiffs alleged that defendants’

breaches of fiduciary duty regarding investment in employer securities affected all plan

participants the proposed class representatives met the “typicality” requirement).




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       Here, Plaintiff’s claims are clearly typical of those of the proposed Class. Plaintiff

was an employee of ADC, a participant of the Plan during the Class Period, and had part

of his individual plan investment portfolio invested in ADC stock during that time. All of

the settlement class members sustained the same injury described in the Complaint

arising out of Defendants’ alleged wrongful conduct, i.e., by breaching their fiduciary

duties and violating ERISA during the Class Period as described herein and in the

Complaint. Further, Plaintiff (and each member of the proposed class) is entitled under

ERISA to bring a claim for Plan-wide relief. See 29 U.S.C. § 1109(a) (liability for breach

of fiduciary duty goes to the plan). Accordingly, Plaintiff’s claims are typical of the

claims of the Class within the meaning of Rule 23(a)(3).

              4.     Rule 23(a)(4) – “Adequacy”

       The adequacy of representation requirement is met when the representative parties

will fairly and adequately protect the interests of the class. Fed. R. Civ. P. 23(a)(4). In

making this determination, the Court must consider (1) whether the representatives and

their attorneys are able and willing to prosecute the action competently and vigorously,

and (2) whether each representative’s interests are sufficiently similar to those of the

class that it is unlikely that their goals and viewpoints will diverge. Mathers v.

Northshore Mining Co., 217 F.R.D. 474 (D.Minn. 2003).

       Plaintiff Michael Anderson (the proposed representative of the Settlement Class)

has no interests that are antagonistic to those of the absent class members. By pursuing

this litigation, Plaintiff has and will necessarily advance the common interests of all other

class members, as described in the discussion of typicality above. See Kane v. United


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Indep. Union Welfare Fund, No. 97-CV-1505, 1998 WL 78985, *8 (E.D. Pa. Feb. 24,

1998) (finding adequacy in ERISA case: “plaintiffs seek to have the fiduciaries

‘personally restore to the Fund any losses incurred.’ . . . The named plaintiffs’ interests

are the same as those of the absentee class members: all seek to increase the value of the

Fund”).

       Plaintiff has retained attorneys that are highly qualified, experienced and able to

conduct complex class litigation. The law firms of Schiffrin & Barroway, LLP, Emerson

Poynter, LLP, and Head, Seifert and Vander Weide have extensive experience litigating

complex ERISA breach of fiduciary duty class actions. Plaintiff’s counsel have

successfully prosecuted literally dozens of ERISA and other complex class actions.16

       Schiffrin & Barroway’s ERISA litigation department is one of the foremost in the

country, representing employees in ERISA actions and serving as Lead or Co-Lead

Counsel in dozens of breach of fiduciary class actions directly analogous to the instant

one, including: In re Merck & Co. Inc., Securities, Derivative & “ERISA” Litigation,

MDL-1658, 05-2369 (D.N.J.); Smith v. Delta Air Lines, Inc. et al, 04-2592 (N.D. Ga.); In

re Raytheon ERISA Litigation, Master File No. 03 CV 10940 (RGS) (D. Mass.); In re

Syncor ERISA Litigation, No. 03-2446 (C.D. Cal.); In re ADC Telecoms., Inc., No. 03-

2989 (D. Minn.); Hargrave v. TXU Corp., et al., 02-2573 (N.D. Tex.); Gee v.

UnumProvident Corp., 03-1552 (E.D. Tenn.); In re Westar Energy Inc. ERISA Litigation,

03-4032 (D. Kan.); In re Polaroid ERISA Litigation, No. 03-8335 (S.D.N.Y.); Pettit v.


16
  Please see the firm biographies of Schiffrin & Barroway, LLP and Emerson Poynter,
LLP attached as Exhibits 2 & 3, respectively, to the Meltzer Affidavit.

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JDS Uniphase Corporation et al, 03-4743 (N.D. Ca.); In re Allegheny Energy, Inc.

Securities Litigation, 03-MD-1518 (D. Md.); In re Mirant Corporation ERISA Litigation,

03-1027 (N.D. Ga.); Koch v. Loral Space & Communications Ltd., 03-9729 (S.D.N.Y.);

Lewis v. El Paso Corp., 02-4860 (S.D. Tex.); In re BellSouth Corp. ERISA Litigation,

No. 02-2440 (N.D. Ga.); In re AOL ERISA Litigation, 02-8853 (S.D.N.Y.); In re Bristol-

Myers ERISA Litigation, 02-10129 (S.D.N.Y.); and In re Sears, Roebuck & Co. ERISA

Litigation, 02-8324 (N.D. Ill.).

       Emerson Poynter is a national law firm with offices in Houston and Little Rock.

The firm handles cases all across the United States and is also active in the prosecution of

class action cases in Canada in consultation with select Canadian counsel.

       The lawyers at Emerson Poynter have specialized in complex litigation for over

fifteen years and have represented wealthy investors, institutional investors, public and

private funds, individual investors, and consumers. During that time the Firm's lawyers

have been instrumental in the recovery of hundreds of millions of dollars on behalf of

clients and the classes represented. The Firm's lawyers are leaders in prosecuting cases

involving corporate malfeasance. Our cases against corporate boards involved in

wrongdoing have resulted in tremendous changes in corporate governance in many major

American companies, including Fortune 500 companies.

       The Emerson Poynter firm is actively involved in numerous securities fraud

complex class actions, shareholder derivative actions, and consumer litigation involving

telecommunications companies in addition to the number of significant positions of

leadership in ERISA/401K (retirement plan) actions such as the instant one.


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       Given the lack of conflict between Plaintiff and the Class and the retention of

highly experienced and competent counsel, Plaintiff is an adequate Class representative.

              5.     The Class may be properly certified under
                     Rule 23(b)(1) and/or (b)(2)

       In addition to satisfying all of the criteria of Rule 23(a), a party seeking class

certification must also satisfy one of the requirements of Rule 23(b). It has oft been

noted that the additional requirements of Rule 23(b) overlap considerably with those of

Rule 23(a), and with each other. Newberg on Class Actions § 4.01 at 185 (1977).

       Having established that Plaintiff unequivocally meets all of the requirements of

Rule 23(a), the proposed settlement class meets the requirements of Rule 23(b), in

particular subsections (b)(1) and (b)(2).

                     a.      The Proposed Class Meets the Requirements of
                             Rule 23(b)(1)

       Under Rule 23(b)(1), a class may be certified if:

              (1)    the prosecution of separate actions by or against
              individual members of the class would create a risk of

                     (A) inconsistent or varying adjudications with
              respect to individual members of the class which would
              establish incompatible standards of conduct for the party
              opposing the class, or

                      (B) adjudications with respect to individual
              members of the class which would as a practical matter be
              dispositive of the interests of the other members not parties to
              the adjudications or substantially impair or impede their
              ability to protect their interests.

       Therefore, Rule 23(b)(1)(A) “considers possible prejudice to the defendants, while

23(b)(1)(B) looks to possible prejudice to the putative class members.” IKON, 191 F.R.D.


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at 466. Certifications under both sections of Rule 23(b)(1) are common in ERISA breach

of fiduciary duty cases because of the Defendants’ alleged “unitary treatment” of the

individual members of the proposed Class. Id. (citation omitted). See also FED. R. CIV.

P. 23(b)(1)(B), Advisory Comm. Notes to 1996 Amendment (stating that certification

under 23(b)(1) is appropriate in cases charging breach of trust by a fiduciary to a large

class of beneficiaries).

       Here, the Complaint alleges breaches of fiduciary duties under ERISA. Therefore,

the only remedy available to Plan participants is Plan-wide relief, including the

restoration of losses to the Plan. See Mass. Mut. Life Ins. Co. v. Russell, 473 U.S. 134,

139-40 (1985). Thus, actions such as the instant one for breaches of fiduciary duty under

ERISA are by law representative actions. “Because of ERISA’s distinctive representative

capacity and remedial provisions, ERISA litigation of this nature presents a paradigmatic

example of a (b)(1) class.” Global Crossing, 225 F.R.D. at 453 (certifying an exactly

analogous class of defined contribution plan participants for settlement); see also Gruby

v. Brady, 838 F. Supp. 820, 828 (S.D.N.Y. 1993) (holding that certification of a class

seeking relief for violations of ERISA was proper under Rule 23(b)(1)); Banyai, 205

F.R.D. at 165 (granting class certification under Fed. R. Civ. P. 23(b)(1)).17


17
  See also Rankin v. Rots, 220 F.R.D. 511 (E.D. Mich. 2004); Kane v. United Indep.
Union Welfare Fund, No. 97-CV-1505, 1998 WL 78985, at *9 (E.D. Pa. Feb. 24, 1998);
Kolar v. Rite Aid Corp., No. 01-CV-1229, 2003 WL 1257272 (E.D. Pa. Mar. 11, 2003);
Koch v. Dwyer, No. 98-CV-5519, 2001 U.S. Dist. LEXIS 4085 (S.D.N.Y. Mar. 23,
2001); Thomas v. SmithKline Beecham Corp., 201 F.R.D. 386, 397 (E.D. Pa. 2001);
IKON, 191 F.R.D. 457; Feret v. Corestates Fin. Corp., No. 97-CV-6759, 1998 U.S. Dist.
LEXIS 12734 (E.D. Pa. Aug. 18, 1988); Specialty Cabinets & Fixtures, Inc. v. American
Equitable Life Ins. Co., 140 F.R.D. 474, 479 (S.D. Ga. 1991); Bunnion v. Consol. Rail.

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       Given the unique “group-based” relief offered under ERISA for violations of

fiduciary duties owed to participants in covered benefit plans, an action such as this one

is a textbook case for class treatment under Rule 23(b)(1). This basic point was

elucidated concisely by the court in IKON, a case in which some of the plaintiff class’

claims were breaches of fiduciary duty under ERISA highly analogous to those brought

in this action:

                  The court agrees that, given the nature of an ERISA claim
                  which authorizes plan-wide relief, there is a risk that failure to
                  certify the class would leave future plaintiffs without relief. . .
                  . There is also risk of inconsistent dispositions that would
                  prejudice the defendants: contradictory rulings as to whether
                  IKON had itself acted as a fiduciary, whether the individual
                  defendants had, in this context, acted as fiduciaries, or
                  whether the alleged misrepresentations were material would
                  create difficulties in implementing such decisions.

IKON, 191 F.R.D. at 466 (citing Feret, 1998 U.S. Dist. LEXIS 12734). See also Becher

v. Long Island Lighting Co., 164 F.R.D. 144, 153 (E.D.N.Y. 1996) (certifying ERISA

fiduciary misrepresentation case under Rule 23(b)(1)(A) because multiple cases “could

conceivably result in different courts reaching conflicting decisions”); Furstenau, No. 02-

5409, at 8-9 (“Plaintiff seeks plan-wide relief, where success necessarily results in plan-

wide relief and failure to prove breach of fiduciary duty would necessarily preclude

actions by other plan participants. If this Court did not certify the class, then Defendants

would be exposed to multiple lawsuits and risk inconsistent decisions”).

Corp., No. 97-CV-4877, 1998 WL 372644, *13 (E.D. Pa. May 14, 1998); Babcock v.
Computer Assocs. Int’l, Inc., 212 F.R.D. 125, 131 (E.D.N.Y. 2003); Clauser v. Newell
Rubbermaid, Inc., No. 99-CV-5753, 2000 WL 1053395, *6 (E.D. Pa. Jul. 31, 2000);
Montgomery v. Aetna Plywood, Inc., No. 95-CV-3193, 1996 WL 189347, *5 (N.D. Ill.
Apr. 16, 1996) (ERISA cases granting class certification under 23(b)(1)).

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       Because relief under ERISA for violations of fiduciary duties owed to participants

in covered benefit plans is to the plan itself, rather than to individuals, an action such as

this one is entirely appropriate for class treatment under Rule 23(b)(1). This point was

succinctly stated in a case in which the plaintiff class also claimed breaches of fiduciary

duty under ERISA:

               As plaintiffs are seeking relief on behalf of the Fund as a
               whole, the Court finds that prosecution of separate actions by
               individual Members would, indeed, create a risk of
               adjudications which would be dispositive of the interests of
               the other members not parties to such adjudications. Because
               a plan participant or beneficiary may bring an action to
               remedy breaches of fiduciary duty only in a representative
               capacity, such an action affects all participants and
               beneficiaries, albeit indirectly.

Gruby, 838 F. Supp. at 828. Indeed, as the U.S. Supreme Court has recognized, cases

such as this are typical examples of Rule 23(b) actions. See Ortiz v. Fibreboard Corp.,

527 U.S. 815, 834 (1999). The Ortiz court noted that Rule 23(b)(1)(B) actions guard

against the risk of impairing the individual class member’s ability to protect their

interests, finding that:

               Classic examples of such a risk of impairment may, for
               example, be found in actions charging a ‘breach of trust by an
               indenture trustee or other fiduciary similarly affecting the
               members of a large class’ of beneficiaries, requiring an
               accounting or similar procedure ‘to restore the subject of the
               trust’. In each of these categories, the shared character of
               rights claimed or relief awarded entails that any individual
               adjudication by a class member disposes of, or substantially
               affects, the interests of absent class members.

Id. at 834 (quoting the Advisory Committee’s Notes on FED R. CIV. P. 23).




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       Thus, although certification of the proposed Class is also appropriate under the

other subdivisions of Rule 23(b), as the cases cited above clearly demonstrate, the Court

should certify such a Class under Rule 23(b)(1). See, e.g., Reynolds v. National Football

League, 584 F.2d 280, 284 (8th Cir. 1978) (“When the choice exists between [23](b)(1)

and [23](b)(3) certification, generally it is proper to proceed under (b)(1) exclusively in

order to avoid inconsistent adjudication or a compromise of class interests”).

                     b.     The Proposed Class Meets the Requirements
                            of Rule 23(b)(2)

       Under Rule 23(b)(2), a class may be certified if:

              [T]he party opposing the class has acted or refused to act on
              grounds generally applicable to the class, thereby making
              appropriate final injunctive relief or corresponding
              declaratory relief with respect to the class as a whole.

       Here, the proposed Class also satisfies the requirements of Rule 23(b)(2). As

noted repeatedly supra, Defendants’ conduct (and the relief sought from the effects of it)

in an ERISA breach of fiduciary duty case must apply on a class-wide basis to

participants of the Plan as a whole. See, e.g., Global Crossing, 225 F.R.D. at 453

(finding that class in an ERISA breach of fiduciary duty action satisfied all the

requirements of Rules 23(a), (b)(1) and (b)(2)). The benefit to the individual proposed

Class members/Plan Participants, by way of a refurbished and lawfully run retirement

plan, “would flow directly and incidentally” from the relief sought by the Plaintiffs.

Bublitz v. E.I. du Pont de Nemours & Co., 202 F.R.D. 251, 259 (S.D. Iowa 2001)

(certifying a Rule 23(b)(2) class in an ERISA breach of fiduciary duty action and noting




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that the monetary relief granted flowed directly from the declaratory relief sought by

plaintiffs).

       Because the Plaintiffs have satisfied all of the requirements under Fed. R. Civ. P.

23(a) and the requirements of Fed. R. Civ. P. 23(b)(1) and/or (2), this Court should

conditionally certify the proposed class for purposes of this settlement, and direct that the

Notice Plan be implemented.

       B.      Plaintiffs’ Counsel easily meet the requirements of Rule 23(g)

       In addition to the other requirements outlined above, there is another analysis that

Rule 23 requires. Rule 23(g) requires the Court to examine the capabilities and resources

of Plaintiffs’ Counsel to determine whether they will provide adequate representation to

the Class. Plaintiff’s Counsel easily meet the dictates of Rule 23(g).

       Here, as presented in detail above, Plaintiff’s Counsel has done substantial work to

identify or investigate potential claims in this action, and they have refined the allegations

through the Complaint and in subsequent propounding/review of discovery. Plaintiff’s

Counsel has investigated the allegations made in this action by interviewing witnesses,

reviewing publicly-available information, reviewing/analyzing literally hundreds of

thousands of pages of documents obtained from Defendants, deposing numerous

Defendants, ADC and non-party witnesses and consulting with experts. As described

above, Plaintiff’s Counsel has substantial experience, individually and collectively, in

handling class actions, other complex litigation, and claims of the type asserted in this

action. Hence, Plaintiffs’ Counsel’s extensive efforts in prosecuting this case, in

combination with their in-depth knowledge, satisfy Rule 23(g).


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       Therefore, in sum, for purposes of effectuating this Settlement, this action should

be certified as a class action under Rules 23 of the Federal Rules of Civil Procedure.

                                       CONCLUSION

       For the foregoing reasons, Plaintiffs and Plaintiffs’ Counsel respectfully submit

that the Settlement is fair, reasonable, and adequate, and request this Court (1)

preliminarily approve the Settlement, (2) conditionally certify the proposed class, (3)

approve Plaintiffs’ Notice and Notice plan, and (4) set a date for a Final Fairness

Hearing.


Dated: July 7, 2007                Respectfully Submitted,

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